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                UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF PENNSYLVANIA
                         ARMSTRONG DIVISION


Jessica Sweeney                   ) Case No.: 22-CV-40
                                  ) CIVIL ACTION
Plaintiff,                        )
    vs.                           )
                                  )
HealthCare Revenue Recovery
                                  )
Group, LLC
d/b/a ARS Account Resolution
Services
Defendant.

    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
             PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
     Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of
Civil Procedure, the Plaintiff, hereby gives notice that the
above captioned action is voluntarily dismissed, with prejudice.


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                           SERVICE LIST
    Jessica Sweeney v. HealthCare Revenue Recovery Group, LLC
                        Case No. 22-CV-40
 United States District Court, Western District of Pennsylvania


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